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                         EXHIBIT A
Case 2:20-cv-02892-SHL-tmp Document 359-2 Filed 10/03/22 Page 2 of 5   PageID 8014
Case 2:20-cv-02892-SHL-tmp Document 359-2 Filed 10/03/22 Page 3 of 5                                 PageID 8015
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  Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents clients across the U.S. and abroad from offices in Alabama,
  Florida, Georgia, Louisiana, Maryland, Mississippi, South Carolina, Tennessee, Texas, Virginia, and Washington, D.C.


          From: David Seidel <dseidel@saverilawfirm.com>
          Sent: Monday, October 3, 2022 12:30 PM
          To: Mulqueen, Matt <mmulqueen@bakerdonelson.com>; Riccio, Nicole <NRiccio@bakerdonelson.com>
          Cc: Joseph Saveri <jsaveri@saverilawfirm.com>; Eric L. Cramer <ecramer@bm.net>
          Subject: RE: Varsity // ECF 357

          Hi Matt,

          Those clarifications are fine. Clarifications updated below in red.

          1. The Jones and Fusion plaintiffs will not share expert reports with the American Spirit plaintiffs or
             their experts until the American Spirit plaintiffs have received Defendants’ expert reports.

          2. The Jones and Fusion plaintiffs may not ask any questions or attend the defendants’ or plaintiffs’
             expert depositions in the American Spirit case, and the American Spirit plaintiffs may not ask any
             questions or attend the defendants’ or plaintiffs’ expert depositions in the Jones and Fusion cases.

          3. The Jones and Fusion plaintiffs will not disclose the Defendants’ expert deposition transcripts or the
             Plaintiffs’ expert deposition transcripts from the Jones and Fusion cases until after the American
             Spirit Plaintiffs have taken the defendants’ expert depositions.

          Please let us know as soon as possible whether you agree, but no later than 4:00 p.m. Eastern.

          Best,
          David



          From: Mulqueen, Matt <mmulqueen@bakerdonelson.com>
          Sent: Monday, October 3, 2022 9:41 AM
          To: David Seidel <dseidel@saverilawfirm.com>; Riccio, Nicole <NRiccio@bakerdonelson.com>
          Cc: Joseph Saveri <jsaveri@saverilawfirm.com>; Eric L. Cramer <ecramer@bm.net>
          Subject: RE: Varsity // ECF 357


          David,

          Defendants are still working on this with our clients and it likely going to be later today before we can
          get you a formal response on any proposal. To help expedite that process, see my comments below and
          let me know if you have replies or would like to discuss.

          Matt

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        Alabama, Florida, Georgia, Louisiana, Maryland, Mississippi, South Carolina, Tennessee, Texas, Virginia, and
        Washington, D.C.


                From: David Seidel <dseidel@saverilawfirm.com>
                Sent: Friday, September 30, 2022 5:22 PM
                To: Mulqueen, Matt <mmulqueen@bakerdonelson.com>; Riccio, Nicole
                <NRiccio@bakerdonelson.com>
                Cc: Joseph Saveri <jsaveri@saverilawfirm.com>; Eric L. Cramer <ecramer@bm.net>
                Subject: Varsity // ECF 357

                Matt,

                As we discussed today, the Jones and Fusion plaintiffs will not oppose your motion to modify the
                discovery orders, ECF 357, so long as it only precludes the sharing of expert reports with
                American Spirit until American Spirit receives Defendants’ expert reports in that case. We also
                want to make sure that the expert deposition transcripts can be shared with the other cases
                once each case has concluded their own expert depositions. Please let us know if you agree with
                this understanding, stated more precisely below:

            1. The Jones and Fusion plaintiffs will not share expert reports with the American Spirit plaintiffs
               until the American Spirit plaintiffs have received Defendants’ expert reports. Also, Jones and
               Fusion plaintiffs will not share expert reports with the American Spirit plaintiffs’ experts (I think
               this is implied in your proposal, but we want to avoid any ambiguity).

            2. The Jones and Fusion plaintiffs may not ask any questions during the depositions of the
               defendants’ experts in the American Spirit case, and the American Spirit plaintiffs may not ask
               any questions during the depositions of the defendants’ experts in the Jones and Fusion
               cases. We would also want any agreement to prohibit American Spirit plaintiffs from attending
               the depositions of Plaintiffs’ and Defendants’ experts in Jones and Fusion, and also to prohibit
               attendance by Fusion Elite and Jones plaintiffs at the depositions of Plaintiffs’ and Defendants’
               experts in American Spirit. If each of the respective FE/Jones and AS plaintiff groups will
               ultimately have access to the transcripts, and are otherwise not allowed to question, then
               attendance at the depositions should not be necessary.

                     3. The Jones and Fusion plaintiffs will not disclose the defendants’ expert deposition
                        transcripts from the Jones and Fusion cases until after the American Spirit Plaintiffs have
                        taken the defendants’ expert depositions. We would want this to apply to the
                        transcripts of Plaintiffs’ experts in FE/Jones as well.

                We cannot agree to any limitation on American Spirit’s ability to share expert reports and
                transcripts with Fusion and Jones plaintiffs since by the time the American Sprit plaintiffs receive
                Defendants’ reports and take Defendants’ expert depositions, the Fusion and Jones plaintiffs will
                have already received the reports and taken the depositions. We are likely fine with this subject
                to the above points.
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                Please let us know if this is your understanding of your requested relief by 12:00 p.m. Eastern
                time on Monday.

                Thank you,
                David

                David Seidel
                Associate
                ___________________________

                           M   m   m
                       m




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        disseminating it, and notify the sender by reply e‐mail, so that our address record can be corrected.
        Thank you very much.




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